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                                         U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     July 15, 2019

VIA ECF

The Honorable Richard M. Berman
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:    United States v. Jeffrey Epstein, 19 Cr. 490 (RMB)

Dear Judge Berman:

       The Government submits this letter respectfully to request the exclusion of speedy trial
time between July 15, 2019, and July 18, 2019, the date of the next conference in the above-
captioned case, in the interests of justice and pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B). I
have conferred with defense counsel, who consent to this request.

                                                  Very truly yours,

                                                  GEOFFREY S. BERMAN
                                                  United States Attorney


                                            By:
                                                  Alex Rossmiller / Alison Moe / Maurene Comey
                                                  Assistant United States Attorney
                                                  Southern District of New York
                                                  Tel: (212) 637-2415 / 2225 / 2324


Cc:    Martin Weinberg, Esq., and Reid Weingarten, Esq., counsel for defendant
